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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION


UNITED STATES OF AMERICA

V.                                                   Criminal Docket No. 3:03CR120WS

PAUL S. MINOR, et al

                                             ORDER

        Came this day before the Court for status report the selection and approval of medical

professionals and a treatment plan for Defendant Paul Minor in the above entitled action; and

counsel for the Defendant being present telephonically along with the Defendant and the

Defendant having agreed to waive his medical privilege the Court did find as follows:

        That following inquiry of the Court, the Court is satisfied that Dr. Robert Davis is well

qualified to evaluate and serve as a treating psychologist for the Defendant, and further;

        That the Court having heard the findings of Dr. Davis and being advised of his treatment

plan the Court is satisfied that Dr. Davis can and will implement this treatment plan which is in

the best interest of his patient.

        IT IS FURTHER ORDERED that Dr. Davis submit to the Court and to defense counsel a

bi-weekly report on the Defendant’s progress with the first such report to be submitted to the

Court on December 15, 2005.

        IT IS FURTHER ORDERED that the Defendant is no longer on home confinement but

will continue to report as directed to the U.S. Probation Officer charged with his bond

supervision.
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       IT IS FURTHER ORDERED that the record of the hearing had on this matter be sealed

until further order of the Court and that the bi-weekly reports on the Defendant’s progress from

Dr. Davis also be sealed.

       SO ORDERED AND ADJUDGED this the 30th of November, 2005.

                                            s/ HENRY T. WINGATE

                                            CHIEF UNITED STATES DISTRICT JUDGE

       Agreed to:

       s/ Dennis C. Sweet__________________
       Dennis C. Sweet

       s/Joseph M. Hollomon________________
       Joseph M. Hollomon

       _________________________________
       US Attorney




Criminal No. 3:03-cr-120 WS
